                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF TENNESSEE


NIKKI BOLLINGER GRAE, Individually and )           Civil Action No. 3:16-cv-02267
on Behalf of All Others Similarly Situated, )
                                            )      Honorable Aleta A. Trauger
                             Plaintiff,     )
                                            )      MOTION FOR ADMISSION PRO HAC
      vs.                                   )      VICE
                                            )
CORRECTIONS CORPORATION OF                  )
AMERICA, et al.,                            )
                                            )
                             Defendants.    )
                                            )



         The undersigned counsel for Lead Plaintiff Amalgamated Bank, as Trustee for the

LongView Collective Investment Fund hereby moves for admission to appear pro hac vice in this

action. I hereby certify that I am a member in good standing of the United States District Court

for the Southern District of California. Attached as Exhibit A is a Certificate of Good Standing

from that court. I also declare under penalty of perjury that I am not, nor have I ever been, the

subject of disciplinary proceedings by any disciplinary authority, have no criminal convictions,

and have never had a finding of contempt or a sanction under 28 U.S.C. §1927 against me.

 DATED: March 30, 2021                        Respectfully submitted,

                                              ROBBINS GELLER RUDMAN & DOWD LLP
                                              JASON A. FORGE
                                              RACHEL L. JENSEN
                                              NATALIE F. LAKOSIL


                                                             s/ Rachel L. Jensen
                                                            RACHEL L. JENSEN




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                                    655 West Broadway, Suite 1900
                                    San Diego, CA 92101
                                    Telephone: 619/231-1058
                                    619/231-7423 (fax)
                                    jforge@rgrdlaw.com
                                    rachelj@rgrdlaw.com
                                    nlakosil@rgrdlaw.com

                                    ROBBINS GELLER RUDMAN & DOWD LLP
                                    WILLOW E. RADCLIFFE
                                    KENNETH J. BLACK
                                    Post Montgomery Center
                                    One Montgomery Street, Suite 1800
                                    San Francisco, CA 94104
                                    Telephone: 415/288-4545
                                    415/288-4534 (fax)
                                    willowr@rgrdlaw.com
                                    kennyb@rgrdlaw.com

                                    ROBBINS GELLER RUDMAN & DOWD LLP
                                    CHRISTOPHER M. WOOD, #032977
                                    CHRISTOPHER H. LYONS, #034853
                                    414 Union Street, Suite 900
                                    Nashville, TN 37219
                                    Telephone: 800/449-4900
                                    615/252-3798 (fax)
                                    cwood@rgrdlaw.com
                                    clyons@rgrdlaw.com

                                    Lead Counsel for Plaintiff

                                    BARRETT JOHNSTON MARTIN
                                      & GARRISON, LLC
                                    JERRY E. MARTIN, #20193
                                    Bank of America Plaza
                                    414 Union Street, Suite 900
                                    Nashville, TN 37219
                                    Telephone: 615/244-2202
                                    615/252-3798 (fax)

                                    Local Counsel




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                                   CERTIFICATE OF SERVICE
         I hereby certify under penalty of perjury that on March 30, 2021, I authorized the electronic

filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List, and

I hereby certify that I caused the mailing of the foregoing via the United States Postal Service to

the non-CM/ECF participants indicated on the attached Manual Notice List.

                                                    s/ Christopher M. Wood
                                                    CHRISTOPHER M. WOOD
                                                    ROBBINS GELLER RUDMAN
                                                           & DOWD LLP
                                                    414 Union Street, Suite 900
                                                    Nashville, TN 37219
                                                    Telephone: 615/244-2203
                                                    615/252-3798 (fax)


                                                    E-mail: cwood@rgrdlaw.com




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Electronic Mail Notice List

The following are those who are currently on the list to receive e-mail notices for this case.

      Kenneth J. Black
      kennyb@rgrdlaw.com

      Paul Kent Bramlett
      pknashlaw@aol.com

      Robert P. Bramlett
      robert@bramlettlawoffices.com

      Christopher T. Cain
      cain@scottandcain.com,ambrose@scottandcain.com

      Patrick V. Dahlstrom
      pdahlstrom@pomlaw.com

      Jason A. Forge
      jforge@rgrdlaw.com

      Brian T. Glennon
      brian.glennon@lw.com

      Michael Goldberg
      michael@goldberglawpc.com

      Elizabeth O. Gonser
      egonser@rwjplc.com,nnguyen@rwjplc.com

      Marc Gorrie
      mgorrie@pomlaw.com

      Meryn C.N. Grant
      Meryn.Grant@lw.com

      Dennis J. Herman
      dherman@rgrdlaw.com,e_file_sd@rgrdlaw.com

      James A. Holifield , Jr
      aholifield@holifieldlaw.com

      J. Alexander Hood , II
      ahood@pomlaw.com

      Natalie F. Lakosil
      nlakosil@rgrdlaw.com

      Jeremy A. Lieberman
      jalieberman@pomlaw.com,disaacson@pomlaw.com,lpvega@pomlaw.com

      Christopher Hamp Lyons
      clyons@rgrdlaw.com,KennyB@rgrdlaw.com,e_file_sd@rgrdlaw.com

      Jerry E. Martin
      jmartin@barrettjohnston.com,adonovan@barrettjohnston.com,eseaborn@barrettjohnston.com,jmartin@rgrdlaw.com

      Milton S. McGee , III
      tmcgee@rwjplc.com,dgibby@rwjplc.com

      Faraz Mohammadi
      faraz.mohammadi@lw.com

      Willow E. Radcliffe
      willowr@rgrdlaw.com,WillowR@ecf.courtdrive.com

      Steven Allen Riley
      sriley@rwjplc.com,dgibby@rwjplc.com

      Brian Schall
      brian@goldberglawpc.com

      David J. Schindler
      david.schindler@lw.com

      Sarah A. Tomkowiak
      sarah.tomkowiak@lw.com

      Morgan E. Whitworth
      morgan.whitworth@lw.com,morgan-whitworth-8044@ecf.pacerpro.com
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      Mark H. Wildasin
      mark.wildasin@usdoj.gov,liz.lopes@usdoj.gov,melissa.russell@usdoj.gov,dkGeorge@bop.gov,othomas@bop.gov,CaseView.ECF@usdoj.gov,regina.taylor2@usdoj.go

      Christopher M. Wood
      cwood@rgrdlaw.com,willowr@rgrdlaw.com,rachelj@rgrdlaw.com,RachelJ@ecf.courtdrive.com,smorris@rgrdlaw.com,CWood@ecf.courtdrive.com,morgank@ecf.cou

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